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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

  NAVY SEAL # 1, et al.,
                              Plaintiffs,
         v.                                             Case No. 8:21-cv-02429-SDM-TGW
  JOSEPH R. BIDEN, JR., in his official
  capacity as President of the United States, et al.,
                              Defendants.


                      DEFENDANTS’ MOTION TO DISMISS,
                 OR, IN THE ALTERNATIVE, MOTION TO SEVER

         Plaintiffs, thirty-one service members across all the Military Services, raise

  religious objections to the Department of Defense’s (“DoD”) COVID-19 vaccination

  directive and also claim that vaccination violates the Federal Food, Drug, and

  Cosmetics Act (“FDCA”) and 10 U.S.C. §§ 1107 and 1107a. Dismissal—either in

  whole or in part—is warranted for several reasons.

         This case should be dismissed in its entirety on ripeness and exhaustion

  grounds. Some Plaintiffs have not received final adjudications of their religious

  exemption requests, and no Plaintiff has completed separation proceedings. If the case

  is not dismissed in its entirety on jurisdictional grounds, the Court should dismiss

  Plaintiffs’ challenge under the FDCA, 10 U.S.C. §§ 1107 and 1107a because those

  statutes do not contain a private right of action. Moreover, only vaccines that have

  received full licensure by the Food and Drug Administration (“FDA”), in accordance

  with FDA-approved labeling and guidance, are required under the relevant policies,




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  and no Plaintiff alleges that he or she has requested or has been denied a dose of a

  licensed vaccine.

         If the Court does not dismiss the case in its entirety, the Court should sever the

  claims of the 31 Plaintiffs. All Plaintiffs allege violations of the Religious Freedom

  Restoration Act (“RFRA”) and the First Amendment in connection to their individual

  religious exemption requests. Only four of the 31 Plaintiffs allege any connection to

  Florida. There is no reason to continue litigating these individualized claims—often

  on emergency motions for a temporary restraining order or preliminary injunctive

  relief—in this district. They should instead be severed and litigated in districts where

  venue is proper.

                               PROCEDURAL BACKGROUND

         Defendants have previously set forth the background on the COVID-19

  pandemic, the Food and Drug Administration’s regulation of and guidance

  concerning COVID-19 vaccines, and the Department of Defense COVID-19

  vaccination directive, as well as the Military Services’ implementing guidance, in their

  opposition to Plaintiffs’ motion for a preliminary injunction and incorporate that

  background by reference. See ECF No. 23.

         On February 18, 2022, thirty-two service members filed their second amended

  complaint challenging the DoD directive governing members of the Armed Forces and

  the adjudication of their individual religious exemption requests. 1 See Second Am.


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   On March 18, 2022, Plaintiffs filed a notice of voluntary dismissal to dismiss Plaintiff United States
  Marine Corps Major from the case. ECF No. 137.

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  Compl., ECF No. 105.           Plaintiffs purport to bring a class action of “military

  servicemembers who have been denied religious exemption from the Federal COVID-

  19 Vaccine Mandate.” Id. ¶ 203. Plaintiffs allege that the “Federal COVID-19 vaccine

  mandate” violates: (1) the FDCA, 21 U.S.C. § 360bbb-3, id. ¶¶ 212–39; (2) the First

  Amendment, id. ¶¶ 240–57; and (3) RFRA, 42 U.S.C. § 2000bb-1, id. ¶¶ 258–80.

  Plaintiffs seek a declaratory judgment and nationwide injunction against the military

  that would prevent implementation of the DoD COVID-19 vaccination directive,

  require the government to grant all religious exemption requests, and prevent the

  military from taking any adverse action or discipline against service members. Id.

  Prayer for Relief at 127–31.

                                   LEGAL STANDARDS

   I.   Dismissal

        “‘Federal courts are courts of limited jurisdiction’ and ‘possess only that power

  authorized by Constitution and statute.’” Bishop v. Reno, 210 F.3d 1295, 1298 (11th

  Cir. 2000) (citation omitted). Where plaintiffs fail to demonstrate a court’s subject-

  matter jurisdiction, dismissal is appropriate pursuant to Federal Rule of Civil

  Procedure 12(b)(1). Langston v. Tex. Cap. Bank, NA, No. 8:20-CV-2954-VMC-AAS,

  2021 WL 698171, at *2 (M.D. Fla. Feb. 23, 2021).

        To withstand a motion to dismiss pursuant to Rule 12(b)(6), a complaint must

  contain “sufficient factual matter, accepted as true, to ‘state a claim to relief that is

  plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).



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  Mere “labels and conclusions” and “naked assertion[s] devoid of further factual

  enhancement” are insufficient. Id. Rather, a court must disregard “pleadings that,

  because they are no more than conclusions, are not entitled to the assumption of

  truth,” and determine whether the remaining “well-pleaded factual allegations . . .

  plausibly give rise to an entitlement to relief.” Id. at 679.

  II.    Joinder and Severance

         Individuals may join in a single action if “(A) they assert any right to relief

  jointly, severally, or in the alternative with respect to or arising out of the same

  transaction, occurrence, or series of transactions or occurrences; and (B) any question

  of law or fact common to all plaintiffs will arise in the action.” Fed. R. Civ. P. 20(a)(1).

  “Even if the requirements of Rule 20 are satisfied, a court enjoys considerable

  discretion to sever claims in the interests of judicial economy.” Walters v. BMW of N.

  Am., No. 8:18-CV-02875, 2019 WL 6251366, at *2 (M.D. Fla. Nov. 22, 2019). Courts

  consider the following factors when considering whether Plaintiffs’ claims should be

  joined or severed: “(1) the interest of avoiding prejudice and delay; (2) ensuring judicial

  economy; (3) safeguarding principles of fundamental fairness; and (4) whether

  different witnesses and documentary proof would be required for plaintiffs’ claims.”

  Id. (quoting Torres v. Bank of Am., No. 8:17-CV-1534-T-26TBM, 2017 WL 10398671,

  at *2 (M.D. Fla. Oct. 6, 2017)). Although “[m]isjoinder of parties is not a ground for

  dismissing an action,” “the court may at any time, on just terms, add or drop a party,”

  or “sever any claim against a party.” Fed. R. Civ. P. 21.



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 III.    Deference Principles

         Judicial review of claims involving the “complex, subtle, and professional

  decisions as to the composition, training, equipping, and control of a military force,”

  Gilligan v. Morgan, 413 U.S. 1, 10 (1973), is highly constrained. Rostker v. Goldberg, 453

  U.S. 57, 66 (1981) (Because of the “healthy deference to legislative and executive

  judgments in the area of military affairs,” courts employ a relaxed scrutiny in

  reviewing military policy.); Aktepe v. United States, 105 F.3d 1400, 1403 (11th Cir. 1997)

  (“[T]he political branches of government are accorded a particularly high degree of

  deference in the area of military affairs.”); see also Winck v. England, 327 F.3d 1296,

  1302–04 (11th Cir. 2003), abrogated on different grounds as recognized in Santiago-Lugo v.

  Warden, 785 F.3d 467, 475 n.5 (11th Cir. 2015)).             Such deference extends to

  constitutional claims and military decisions about the health and welfare of the troops.

  E.g., Solorio v. United States, 483 U.S. 435, 448 (1987); Mazares v. Dep’t of Navy, 302 F.3d

  1382, 1385 (Fed. Cir. 2002). And such deference explicitly applies when it involves

  religious liberty claims. See Goldman v. Weinberger, 475 U.S. 503, 507 (1986) (“But

  within the military community there is simply not the same [individual] autonomy as

  there is in the larger civilian community. . . . [W]hen evaluating whether military

  needs justify a particular restriction on religiously motivated conduct, courts must give

  great deference to the professional judgment of military authorities concerning the

  relative importance of a particular military interest.” (first bracket in original; internal

  quotation marks omitted)).



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                                            ARGUMENT

         The Court lacks jurisdiction over this case because Plaintiffs’ claims are not ripe

  and they have failed to exhaust administrative remedies. Several Plaintiffs have not

  completed the process for requesting exemptions, and, for those Plaintiffs who have

  had their exemption requests finally adjudicated, no Plaintiff has exhausted their

  administrative remedies through subsequent proceedings. Even if Plaintiffs could

  establish jurisdiction, they have failed to state a claim that the military violated the

  FDCA, 10 U.S.C. §§ 1107 or 1107a. Finally, the individualized nature of the 31

  Plaintiffs’ claims warrant severance.

  I.     Plaintiffs’ Claims Are Not Ripe and They Have Failed to Exhaust
         Administrative Remedies.

         Plaintiffs filed suit before many received final decisions on their requests for a

  religious exemption to DoD’s COVID-19 vaccination directive and before any

  completed adverse administrative or discipline processes that follow a final denial of

  an exemption request. See Second Am. Compl. ¶¶ 32–64, 128–59. Currently, 15

  Plaintiffs have not received final decisions on their requests for religious exemptions, 2

  and no Plaintiff who has had their exemption request finally adjudicated has

  completed subsequent administrative or discipline processes. See Ex. 1 (Decl. of Major


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    In addition, one Plaintiff has not submitted a request for a religious exemption. Plaintiff Technical
  Sergeant, U.S. Air Force, has been on maternity leave and personal leave since December 9, 2021.
  Ex. 2 (Parks Decl.) ¶ 4. On September 21, 2021, she requested, and was granted, a temporary medical
  exemption. Id. That exemption expired on January 15, 2022. Id. She has not been present for duty
  since her temporary medical exemption expired. Id. Although she has not requested a religious
  exemption to the COVID-19 vaccination requirement, if she submits such a request when she returns
  from leave, “it would be processed in accordance with applicable [Air Force] and Department of
  Defense regulations.” Id.

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  Alyssa S. Tetrault) ¶ 6; Ex. 2 (Decl. of Colonel Michael B. Parks) ¶ 4; Ex. 3 (Decl. of

  Colonel Kevin J. Mahoney) ¶¶ 4–6; Ex. 4 (Decl. of Second Lieutenant Eugene Bryl

  McCarthy IV) ¶¶ 2–3 & Ex. A; Ex. 5 (Decl. of Captain Mery-Angela Sanabria Katson)

  ¶¶ 2–3 & Ex. A; Ex. 6 (Decl. of Commander Kelly C. Blackburn) ¶ 3.

         Plaintiffs with pending exemption requests do not have ripe claims because any

  harm from receiving the vaccine or facing adverse action rests “upon contingent future

  events that may not occur as anticipated, or indeed may not occur at all.” Texas v.

  United States, 523 U.S. 296, 300 (1988) (citation omitted). If the military grants the

  requests, the service members will be exempted from the COVID-19 vaccination

  requirement, and while they wait for a determination, they are not subject to any

  adverse employment or disciplinary action. ECF No. 23-18 ¶¶ 9 n.6, 14 n.12; ECF

  No. 23-19 ¶¶ 9 n.5, 12 n.8; ECF No. 23-17 ¶¶ 8, 17, 24; ECF No. 23-22 ¶ 13; ECF No.

  23-25 ¶¶ 10–11. “Until Plaintiff[s] ha[ve] received a decision from the military, judicial

  review of [their] claim[s], even if available, has not arisen.” Frame v. United States, No.

  4:09-CV-458-RH/WCS, 2010 WL 883804, at *3 (N.D. Fla. Mar. 5, 2010) (concluding

  that “because Plaintiff’s application to have his discharge changed to an honorable

  discharge is still pending, this case is not ripe”); see also Digital Props., Inc. v. City of

  Plantation, 121 F.3d 586, 590 (11th Cir. 1997) (finding that because the plaintiff filed

  suit before “a binding conclusive administrative decision” was issued, “no tangible

  controversy exists and, thus, [the court] ha[s] no authority to act”). And because a

  final decision has not yet been reached on some Plaintiffs’ requests for religious

  exemptions, the military has not yet articulated with finality its views as to the least

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  restrictive means of furthering its compelling government interest.

        Even if their exemption requests are denied, but Plaintiffs still do not get

  vaccinated and face adverse action, the military has administrative appeal procedures

  that offer many opportunities for them to present their arguments and for their Service

  to respond. See ECF No. 23-23 ¶¶ 3–14 (Air Force); ECF No. 23-17 ¶¶ 21–23 (Army);

  ECF No. 23-18 ¶¶ 15–22 (Navy); ECF No. 23-19 ¶¶ 14–21 (Marines); ECF No. 23-25

  ¶ 10 (Coast Guard). Until those military procedures are exhausted, Plaintiffs cannot

  seek relief in this Court. Winck, 327 F.3d at 1302 (“[O]ur respect for coordinate judicial

  systems and their autonomy, has led us, time and again, to require exhaustion in

  military cases.”) (cleaned up); Von Hoffburg v. Alexander, 615 F.2d 633, 637 (5th Cir.

  1980) (“[T]his court has consistently held that a plaintiff challenging an administrative

  military discharge will find the doors of the federal courthouse closed pending

  exhaustion of available administrative remedies.”) (collecting cases); Hodges v.

  Callaway, 499 F.2d 417, 420 (5th Cir. 1974) (“[T]his Court has firmly adhered to the

  rule that a plaintiff challenging an administrative military discharge will find the doors

  of the federal courthouse closed pending exhaustion of available administrative

  remedies.”); Leicht v. McHugh, No. 13-60015-CIV, 2013 WL 11971266, at *2 (S.D. Fla.

  May 24, 2013) (“The exhaustion doctrine should be strictly applied.”); Doe v. Ball, 725

  F. Supp. 1210, 1211 (M.D. Fla. 1989), aff’d sub nom. Doe v. Garrett, 903 F.2d 1455 (11th

  Cir. 1990) (requiring exhaustion of administrative remedies before bringing facial

  challenge to Navy’s HIV regulations).

        The nature of Plaintiffs’ claims does not excuse their failure to exhaust. Even

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  when a plaintiff “allege[s] the deprivation of a constitutional right” or “alleg[es] that

  the military has acted in violation of applicable statutes,” he still must “exhaust[]

  available intraservice corrective measures” before bringing suit in federal district court.

  Mindes v. Seaman, 453 F.2d 197, 201 (5th Cir. 1971).

            The exhaustion requirement is especially important in the military context

  because it serves the important purpose of allowing the military to apply its

  “specialized expertise” in the first instance. Lawrence v. McCarthy, 344 F.3d 467, 470

  (5th Cir. 2003). If Plaintiffs are dissatisfied with the military’s decision, they may seek

  judicial review only after exhausting military appeals, allowing the military to make

  its decision and fully articulate its interests. See Winck, 327 F.3d at 1302–04.

            As other courts have recently found in similar contexts, judicial review of

  service members’ claims without first allowing the military’s internal processes to

  conclude “would undermine the purpose of exhaustion and infringe on the military’s

  expertise and interest in handling its own personnel matters.” Church v. Biden, --- F.

  Supp. 3d ---, 21-cv-2815, 2021 WL 5179215, at *11 (D.D.C. Nov. 8, 2021) (citing, inter

  alia, Orloff v. Willoughby, 345 U.S. 83, 94 (1953)). In Short v. Berger, the court concluded

  that a Marine Corps officer whose appeal had been denied failed to exhaust

  administrative remedies because “he still must undergo separation proceedings before

  any permanent adverse consequences are imposed.” Order, Short v. Berger, No. 2:22-

  cv-1151 (C.D. Cal. Mar. 3, 2022), ECF No. 25 at 5. 3 Moreover, the officer would



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      The Short Order is filed on the docket at ECF No. 132-5.

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  have the opportunity to submit a “written rebuttal” during separation proceedings, and

  four different individuals would consider his separation, “any one of which could

  decide to close the process upon review of Plaintiff’s written submissions.” Id. (citing

  Diraffael v. Cal. Mil. Dep’t, No. 10-cv-07240, 2011 WL 13274364, at *3 (C.D. Cal. Mar.

  21, 2011)). The court rejected the plaintiff’s argument that the administrative remedies

  would be futile, finding that there is “no evidence, other than argumentative

  conjecture, that separation proceedings are always decided against the appealing

  servicemember.” Id. at 5–6. The court also rejected the plaintiff’s argument that

  exhaustion was required because he otherwise would suffer irreparable harm, finding

  that separation was not a foregone conclusion and that even if he were separated, that

  harm could be redressed with back pay and reinstatement into the military. Id. at 13–

  14. The same is true here—separation proceedings are not futile so as to excuse the

  exhaustion requirement and Plaintiffs suffer no irreparable injury from going through

  separation proceedings. See Leicht, 2013 WL 11971266, at *3 (finding no irreparable

  harm in requiring the service member to pursue administrative remedies at the Board

  for Correction of Military Records before filing suit).

         Accordingly, because Plaintiffs’ claims are not ripe and they failed to exhaust

  administrative remedies, this case should be dismissed for lack of jurisdiction. Von

  Hoffburg, 615 F.2d at 641 n.15 (“[W]here the exhaustion requirement does apply, the

  district court has no further jurisdiction over the case until the requirement is

  satisfied.”).



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  II.    Any Claims that Require Review of the Military’s Assignment Decisions
         Are Non-justiciable.

         To the extent that Plaintiffs’ claims extend to the review of military assignment

  decisions (including temporary reassignments), their claims are non-justiciable. The

  “Constitution vests ‘[t]he complex, subtle, and professional decisions as to the

  composition, training, equipping, and control of a military force’ exclusively in the

  legislative and executive branches.” Kreis v. Sec’y of the Air Force, 866 F.2d 1508, 1511

  (D.C. Cir. 1989) (quoting Gilligan, 413 U.S. at 10). Courts have consistently held that

  decisions as to who is placed in command of our troops or assigned to a particular

  billet are beyond the judiciary’s competence and are constitutionally entrusted to the

  military and political branches. See, e.g., Orloff, 345 U.S. at 93–94; accord Speigner v.

  Alexander, 248 F.3d 1292, 1298 (11th Cir. 2001); see also Antonellis v. United States, 723

  F.3d 1328, 1336 (Fed. Cir. 2013) (“Courts are in no position to determine the ‘best

  qualified Officer’ or the ‘best match’ for a particular billet.”); Bryant v. Gates, 532 F.3d

  888, 899 (D.C. Cir. 2008) (Kavanaugh, J., concurring) (“[T]he Supreme Court has

  indicated” that “military decisions and assessments of morale, discipline, and unit

  cohesion . . . are well beyond the competence of judges.”); Cargill v. Marsh, 902 F.2d

  1006, 1007 (1990). Consistent with this precedent, courts routinely find challenges to

  military assignment decisions to be non-justiciable. See, e.g., Harkness v. Sec’y of the

  Navy, 858 F.3d 437, 443–45 (6th Cir. 2017) (collecting cases). Accordingly, to the

  extent Plaintiff’s claims extend to a challenge to any military assignment decision,

  those claims are not justiciable.


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  III.   Plaintiffs Fail to State a Claim with Respect to 21 U.S.C. § 360bbb-3 and 10
         U.S.C. §§ 1107 and 1107a.

         Plaintiffs allege that DoD’s directive violates 21 U.S.C. § 360bbb-3, “as applied

  by 10 U.S.C. §§ 1107 and 1107a,” which concerns notice requirements for drugs

  authorized pursuant to an Emergency Use Authorization (“EUA”). Second Am.

  Compl. ¶¶ 212–34. This claim fails for three distinct reasons. First, no Plaintiff alleges

  that he or she has sought (much less been denied) a COVID-19 vaccine that complies

  with an approved Biologics License Application (“BLA”).              Second, Plaintiffs’

  statutory challenge to the COVID-19 vaccination requirement fails to identify a cause

  of action. And third, this claim is premised on the mistaken belief that DoD is

  requiring service members to receive vaccines that have not been approved by FDA as

  safe and effective for their intended use against COVID-19. Moreover, to the extent

  Plaintiffs challenge the issuance of the EUA for the Pfizer COVID-19 vaccine or the

  Emergency Declaration, the Court lacks jurisdiction over that claim. For any of these

  reasons, Count I of Plaintiffs’ Second Amended Complaint must be dismissed.

         A.    Plaintiffs Have Not Alleged That They Were Denied a COVID-19
               Vaccine That Complied With an Approved Biologics License
               Application.

         No Plaintiff claims that he or she would take any COVID-19 vaccine, regardless

  of whether it was produced under an EUA or an approved BLA. Indeed, they all

  allege that their religious beliefs “preclude them from complying with the [DoD

  vaccine directive] because of the connections between the various COVID-19 vaccines

  and the cell lines of aborted fetuses, whether in the vaccines’ origination, production,


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  development, testing, or other inputs.” Id. ¶ 85; see also id. ¶ 96 (“Plaintiffs’ sincerely

  held religious beliefs preclude them from accepting any one of the three currently

  available COVID-19 vaccines . . . .”); id. ¶¶ 105, 113, 114, 115. And, as this Court has

  already found, no Plaintiff claims that he or she “requested or was denied a Pfizer

  vaccine complying with the FDA license.” Navy SEAL 1 v. Biden, No. 8:21-CV-2429-

  SDM-TGW, 2021 WL 5448970, at *3 (M.D. Fla. Nov. 22, 2021); see also Doe #1–#14

  v. Austin, No. 3:21-CV-1211-AW-HTC, 2021 WL 5816632, at *6 (N.D. Fla. Nov. 12,

  2021) (finding that plaintiffs failed to show a likelihood of success on the merits of their

  claim under 10 U.S.C. § 1107a because “no plaintiff claims he or she was specifically

  denied a BLA-compliant dose or offered only a dose from a non-BLA-compliant

  vial”); Crosby v. Austin, No. 8:21-CV-2730-TPB-CPT, 2022 WL 603784, at *2 (M.D.

  Fla. Mar. 1, 2022) (same); Norris v. Stanley, No. 1:21-cv-756, 2021 WL 3891615, at *2

  (W.D. Mich. Aug. 31, 2021) (no likelihood of success on EUA claim because it “would

  be moot” if offered the FDA-approved vaccine). Because no Plaintiff has alleged that

  the military will require them to “receive an emergency vaccine not complying with

  the FDA license,” they have failed to state a claim under the FDCA, 10 U.S.C. §§ 1107

  or 1107a. Navy SEAL 1, 2021 WL 5448970, at *3.

         B.     Plaintiffs Have Not Identified a Cause of Action.

         “[P]rivate rights of action to enforce federal law must be created by Congress.”

  Alexander v. Sandoval, 532 U.S. 275, 286 (2001), and “[t]here must be clear evidence of

  Congress’s intent to create a cause of action,” Love v. Delta Air Lines, 310 F.3d 1347,

  1353 (11th Cir. 2002) (citation omitted). Where the necessary intent is absent, “a cause

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  of action does not exist and courts may not create one.” Sandoval, 532 U.S. at 286–87.

         As this Court has already found, 21 U.S.C. § 360bbb-3 does not provide a waiver

  of sovereign immunity or a cause of action for these Plaintiffs. Navy SEAL 1, 2021 WL

  5448970, at *3 (citing Doe v. Franklin Square Union Free Sch. Dist., --- F. Supp. 3d ---,

  2021 WL 4957893, at *20 (E.D.N.Y. Oct. 26, 2021), appeal filed, No. 21-2759 (2d Cir.

  Nov. 2, 2021); Bridges v. Hous. Methodist Hosp., 543 F. Supp. 3d 525, 527 (S.D. Tex.

  June 12, 2021), appeal filed, No. 21-20311 (5th Cir. June 14, 2021)); see also Garfield v.

  Middle Tenn. State Univ., No. 3:21-CV-00613, 2021 WL 5770877, at *3 (M.D. Tenn.

  Dec. 6, 2021) (citing Bailey v. Johnson, 48 F.3d 965, 968 (6th Cir. 1995); Loreto v. Proctor

  & Gamble Co., 515 Fed. App’x 576, 578–79 (6th Cir. 2013)); Donohue v. Hochul, No. 21-

  CV-8463 (JPO), 2022 WL 673636, at *7 (S.D.N.Y. Mar. 7, 2022) (citing PDK Labs,

  Inc. v. Friedlander, 103 F.3d 1105, 1113 (2d Cir. 1997)). To the contrary, the FDCA

  reserves exclusive enforcement authority to the United States, with one limited

  exception for state enforcement. 21 U.S.C. § 337(a); see Guilfoyle v. Beutner, No. 2:21-

  cv-05009-VAP, 2021 WL 4594780, at *26–27 (C.D. Cal. Sept. 14, 2021). Nor does 10

  U.S.C. §§ 1107 or 1107a provide a waiver of sovereign immunity or a cause of action.

  See Norman v. Campbell, 87 F. App’x 582, 584 (7th Cir. 2003) (finding that it was

  “doubtful” that a “statute directed at the Secretary of Defense” allows a private cause

  of action). Because Plaintiffs have failed to identify a cause of action, the Court should

  dismiss this claim.

         C.     DoD Has Not Violated Statutory Requirements.

         Plaintiffs’ statutory claim would otherwise fail because Congress has given the

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  Secretary of Defense and the Services wide latitude to establish a vaccination program

  for the welfare of the troops. See 10 U.S.C. §§ 113(b), 7013 (b)(9), 8013 (b)(9), 9013

  (b)(9).    10 U.S.C. § 1107a 4 and 21 U.S.C. § 360bbb-3 impose certain notice

  requirements (and, in the case of § 1107a, the possibility of a waiver of those notice

  requirements), for products authorized for “emergency use.” DoD’s directive does not

  contravene those statutes because DoD has not required that service members receive

  COVID-19 vaccines only authorized for emergency use.                           As the Secretary’s

  memorandum makes clear, “[m]andatory vaccination against COVID-19 will only use

  COVID-19 vaccines that receive full licensure . . . in accordance with FDA-approved

  labeling and guidance.” ECF No. 1-4. Guidance from the Services contains similar

  provisions. See, e.g., ECF No. 23-7 at ¶ 3.D.8.A

            FDA approved the Pfizer-BioNTech COVID-19 vaccine under the name

  Comirnaty. In its contemporaneous reissuance of Pfizer’s EUA, FDA determined that

  “[t]he licensed vaccine has the same formulation as the EUA-authorized vaccine and

  the products can be used interchangeably to provide the vaccination series without

  presenting any safety or effectiveness concerns.” ECF No. 23-14 at Ex. C at 2 n.8.



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    Plaintiffs erroneously cite 10 U.S.C. § 1107, which concerns “investigational new drug[s]” and
  “drug[s] unapproved for [their] applied use”; service members may not be required to take those drugs
  unless certain procedures are followed. 10 U.S.C. § 1107(a), (g); see also 21 U.S.C. § 355(i) (defining
  investigational new drugs as those used in clinical trials); Gallagher v. FDA, No. 18-cv-2154, 2019 WL
  6312008, at *2 (D.D.C. Nov. 25, 2019). DoD’s directive does not implicate this provision, as none of
  the COVID-19 vaccines provided to service members are provided as investigational new drugs in the
  context of clinical trials or drugs unapproved for their applied use. See ECF No. 23-14 ¶¶ 7, 7 n.2; see
  also Doe v. Rumsfeld, 297 F. Supp. 2d 119, 132 (D.D.C. 2003) (“Title 10 U.S.C. § 1107 and the attendant
  DoD regulation apply only if the FDA determines that [the vaccine] is an investigational drug or a
  drug unapproved for its present purpose.”).


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  DoD relied on this determination, as well as FDA guidance that health care providers

  may “use doses distributed under the EUA to administer the vaccination series as if

  the doses were the licensed vaccine.” ECF No. 1-7. This is consistent with the text

  and purpose of § 1107a; see also Navy SEAL 1, 2021 WL 5448970, at *3 (finding that

  Plaintiffs failed to identify any factual or legal distinction “between Pfizer's vaccine

  bearing the emergency label but produced in compliance with the FDA license and

  Pfizer’s ‘interchangeable’ vaccine bearing the Comirnaty label”).

        Accordingly, because the DoD directive can be satisfied by use of a vaccine that

  FDA has licensed as safe and effective for its intended use, Plaintiffs’ claim fails. See

  Valdez v. Grisham, --- F. Supp. 3d ---, 2021 WL 4145746, at *4 (D.N.M. Sept. 13, 2021)

  (rejecting claim that state vaccine mandate violated the EUA statute because “the

  FDA has now given its full approval – not just emergency use authorization – to the

  Pfizer vaccine”), appeal filed No. 21-2105 (10th Cir. Sept. 15, 2021).

        D.     The Court Lacks Jurisdiction Over a Challenge to the Emergency
               Declaration or EUA.

        Finally, to the extent that Plaintiffs seek to challenge FDA’s EUA itself, that

  challenge is fundamentally misconceived. See Second Am. Compl. ¶¶ 212–39. As an

  initial matter, Plaintiffs have not sued the FDA, and so there is no proper defendant

  in this action for such a claim. And even if Plaintiffs had sued FDA, they could not

  challenge the EUA or the underlying emergency declaration because the EUA statute

  explicitly states that FDA’s “[a]ctions under the authority of this section . . . are

  committed to agency discretion.” 21 U.S.C. § 360bbb-3(i); Ass’n of Am. Physicians &


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  Surgeons v. FDA, No. 20-1784, 2020 WL 5745974, at *3 (6th Cir. Sept. 24, 2020)

  (holding that EUAs are unreviewable); see also 5 U.S.C. § 701(a)(2) (agency action is

  unreviewable under the APA when it “is committed to agency discretion by law”).

  Accordingly, even if the issuance of the EUAs were relevant to Plaintiffs’ claims, the

  Court would lack jurisdiction to review any such claim. 5

  IV.    Severance of Claims Is Warranted.

         If the Court does not dismiss the case, severance of claims is warranted because

  Plaintiffs’ Second Amended Complaint joins claims that should be addressed

  separately. Federal Rule of Civil Procedure 20 permits joinder of claims arising out of

  “the same transaction [or] occurrence, or series of transactions or occurrences” and if

  “any question of law or fact common to all plaintiffs will arise in the action.” Fed. R.

  Civ. P. 20(a). Here, “[w]hile Plaintiffs’ claims may raise similar legal issues, they are

  not logically related because they do not arise from common operative facts.” Barber

  v. Am.’s Wholesale Lender, 289 F.R.D. 364, 367 (M.D. Fla. 2013); Golden Scorpio Corp.

  v. Steel Horse Bar & Grill, 596 F.Supp.2d 1282, 1285 (D. Ariz. 2009) (“[a] finding of a

  common question of law or fact does not necessarily mean that the claims against the



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    In any event, both the Emergency Declaration and the EUAs are clearly proper under the statutory
  standards. The February and March 2020 public health emergency determinations satisfy the
  standards for an emergency declaration under 21 U.S. Code § 360bbb–3(b)(1)(C) because they find a
  “public health emergency” that affects “national security or the health and security of United States
  citizens living abroad” that involves a “biological” agent—the novel coronavirus—and a disease
  caused by the coronavirus—COVID-19. See Determination of Public Health Emergency, 85 Fed. Reg.
  7316, 7317 (Feb. 7, 2020); Emergency Use Authorization Declaration, 85 Fed. Reg. 18,250, 18,250–
  51 (Apr. 1, 2020). FDA has authorized three COVID-19 vaccines pursuant to EUAs, based on FDA’s
  review of extensive safety and efficacy data. See, e.g., ECF No. 23-14 at Exs. B, C; see also FDA,
  COVID-19 Vaccines, https://perma.cc/5FWS-RJ5L.


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  various defendants arise from a common transaction or occurrence”); see also Wigand

  v. W. City Partners, Inc., No. 07-61492-CIV, 2008 WL 384394, at *1 (S.D. Fla. Feb. 11,

  2008) (finding severance was warranted even when 43 plaintiffs all alleged that the

  form contract they all signed “fail[ed] to comply with the Federal Interstate Land Sales

  Full Disclosure Act” because the contracts were for “different units, on different dates,

  and for different prices”); Walters, 2019 WL 6251366, at *2 (finding severance was

  warranted due to “substantial factual differences among the Plaintiffs’ claims”). In

  their Free Exercise Clause and RFRA claims, Plaintiffs challenge the COVID-19

  vaccination directive “as applied” to Plaintiffs. Second Am. Compl. ¶¶ 244–53, 256,

  268–74, 276, 279.     Each of the 31 Plaintiffs must independently demonstrate a

  substantial burden on “a belief, not a preference, that is sincerely held and religious in

  nature, not merely secular.” GeorgiaCarry.org, Inc. v. Georgia, 687 F.3d 1244, 1256 (11th

  Cir. 2012). For each Plaintiff who makes these showings, under RFRA, the burden

  shifts to the Government to “demonstrat[e] that the application of the burden to the

  person—(1) is in furtherance of a compelling governmental interest; and (2) is the least

  restrictive means of furthering that compelling government interest.” Gonzales v. O

  Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 424 (2006) (quoting 42 U.S.C.

  § 2000bb-1(b)). Each of these issues must be separately analyzed with respect to each

  Plaintiff.

         Because each Plaintiff performs a different function in the military, the military

  considers their particular circumstances in determining whether the government’s

  compelling interest requires that each Plaintiff be vaccinated against COVID-19. For

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  example, the Navy assesses the need for a commander of 300 sailors onboard a

  destroyer to be vaccinated in light of the requirements of that particular job, while the

  Army, Marine Corps, Air Force, and Coast Guard do the same for different

  occupations (such as an Army Ranger, supervisor for new Marine recruits, an Air

  Force training instructor, or a Coast Guard pilot). Each Service has been conducting

  individualized assessments regarding whether vaccination is the least restrictive means

  to accomplishing its mission.

        The Court would therefore review an individualized assessment of each

  Plaintiff’s RFRA claim based on the record compiled by the relevant Military

  Department at the time of its eventual decision for each applicant. Assuming each

  Plaintiff’s religious accommodation request is finally denied (which may not occur),

  adjudicating these claims together in one case would require judicial review of a

  separate administrative record for each finally denied religious accommodation

  request, in addition to the administrative record for the challenged DoD directive itself.

  That could be as many as 31 administrative records. In these circumstances, courts

  have found that severance is appropriate. See, e.g., Coal. for a Sustainable Delta v. U.S.

  Fish & Wildlife Serv., No. 1:09-CV-480, 2009 WL 3857417, at *8 (E.D. Cal. Nov. 19,

  2009) (“Each separate agency action will have a separate administrative record.

  Although there may be some overlap if similar information . . . was before each agency

  at the time of its decision . . . , each record will include extensive, unique, unrelated

  information about the different agency action in question.”). Accordingly, because

  each religious exemption request is considered on an individualized basis, any final

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  denials are separate “transactions or occurrences” under Rule 20 such that joinder of

  Plaintiffs’ claims is improper. See Barber, 289 F.R.D. at 367 (noting that because

  “Plaintiffs’ claims involve conduct by different Defendants, different loan documents,

  different dates, and different operative factual scenarios,” the “individualized nature

  of Plaintiffs’ claims” rendered joinder improper).

        “Even if joinder was technically appropriate under Rule 20(a), considerations

  of judicial economy, case management, prejudice to parties, and fundamental fairness

  dictate that Plaintiffs’ claims be severed under Rule 21.” Id. at 368 (citing Coleman v.

  Quaker Oats Co., 232 F.3d 1271, 1296 (9th Cir. 2000); In re Amergi ex rel. Amergi v.

  Palestinian Auth., 611 F.3d 1350, 1367 (11th Cir. 2010); Anderson v. Moorer, 372 F.2d

  747, 750 n.4 (5th Cir. 1967); Acevedo v. Allsup’s Convenience Stores, Inc., 600 F.3d 516,

  521–22 (5th Cir. 2010)); Torres, 2017 WL 10398671, at *1–2. As described above,

  “[t]he fact-specific nature of the claims and defenses that have been, or will be, raised

  by the parties, precludes any conclusion that judicial economy would be served by

  joinder.” Barber, 289 F.R.D. at 368–69.

        In addition, considerations of case management, prejudice to parties, and

  fundamental fairness warrant severance. “[A]llowing this case to proceed as filed

  would violate the principles of judicial resource allocation embodied in the separate

  docketing and random assignment protocols which are employed by federal courts to

  ensure equitable distribution of judicial workloads and efficient, timely, and impartial

  resolution of cases.” Ahmed v. Miller, 452 F. Supp. 3d 721, 727 (E.D. Mich. 2020).

  Here, only four of the 31 Plaintiffs allege that they have any connection to Florida

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  (much less the Middle District of Florida). See Second Am. Compl. ¶¶ 33, 37, 39, 64.

  Three Plaintiffs and one service member seeking to intervene in the case—none of

  whom have any connection with this venue in Florida—have filed emergency motions

  for temporary restraining orders (and the non-party even filed two such motions). See

  ECF Nos. 60, 94, 121, 130; see also Barber, 289 F.R.D. at 369 n.8 (finding that the

  number of docket entries at an early stage in the case illustrated the “procedural and

  case management difficulties associated with the joinder of so many plaintiffs”).

  Although separation proceedings are lengthy and do not warrant emergency motions,

  past behavior indicates that Plaintiffs will continue to file motions for temporary

  restraining orders once the military initiates separation proceedings. Aside from the

  burdens this would impose on the Court, the resolution of 31 motions for temporary

  restraining orders and preliminary injunctions, and judicial review of 31 different

  individualized administrative records concerning religious accommodation requests

  by service members throughout the country with no connection to this forum, is

  unnecessary. Rather, judicial review should be divided among courts in forums that

  have a closer relationship to the parties. Severing Plaintiffs’ claims and requiring them

  to proceed in a district where venue is proper will not prejudice those Plaintiffs because

  each will be able to pursue his/her claims in a proper venue.

        Severance would be consistent with proceedings in another case in this district.

  In Crosby v. Austin, fifteen service members from five different military services

  challenged the DoD COVID-19 vaccination directive. Order, Crosby v. Austin, No.



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  8:21-cv-02730 (M.D. Fla. Feb. 22, 2022), ECF No. 44 at 1. 6 All but one of the plaintiffs

  asserted objections to the vaccine requirement based on religion. Id. at 1–2. As in this

  case, the Crosby plaintiffs brought both facial and as-applied First Amendment and

  RFRA challenges to the DoD COVID-19 vaccination directive and a claim that the

  DoD directive violates the FDCA and 10 U.S.C. § 1107a. Compl., Crosby v. Austin,

  8:21-cv-02730 (M.D. Fla. Nov. 19, 2011), ECF No. 1 ¶¶ 111–17, 159–73, Prayer For

  Relief ¶¶ C, D, F. And, similar to this case, “[o]nly one of the Plaintiffs ha[d] anything

  to do with the Middle District of Florida.” Order, Crosby, No. 8:21-cv-02730, ECF

  No. 44 at 2. The Crosby court found that “even if the fifteen Plaintiffs here satisfy the

  two-prong test for joinder, the differences between their claims are too numerous to

  promote judicial economy.” Id. at 3. The court further found that “it is clear that

  resolution of many of these claims – such as the religious claims – would require a

  separate analysis and involve different proof and different witnesses, located in various

  places across the country.” Id. The court concluded that severance “is necessary to

  promote judicial economy” and severed and dismissed without prejudice the claims of

  all plaintiffs except for the only plaintiff with any connection to the Middle District of

  Florida. Id. The Court should follow a similar path here.




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      The Crosby Order is attached as Exhibit 7 to this filing.

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                                     CONCLUSION

        For these reasons, the Court should dismiss Plaintiffs’ Second Amended

  Complaint. If the Court does not dismiss the case in its entirety, it should dismiss the

  FDCA, 10 U.S.C. §§ 1107 and 1107a claim and sever the remaining claims.

                       LOCAL RULE 3.01(g) CERTIFICATION

        On March 18, 2022, undersigned counsel conferred via email with Plaintiffs’

  counsel, who represented that they oppose the relief sought in this motion.




  Dated: March 18, 2022                       Respectfully submitted,

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